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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 JOSE GUERRERO,

                        Plaintiff,                                      19-cv-06239(KAM)(SJB)
                                                                        CIVIL PRETRIAL
                - against -                                             SCHEDULING ORDER

 CHARLES LOIACONO ET AL,

                        Defendants.

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            The parties in the above captioned civil case having been
 unable to reach a settlement, and desiring to try this case before the
 court, the parties are directed:

                   1.     To APPEAR with counsel ready TO SELECT A JURY on
 October 7, 2024, at 9:00 a.m., either before the undersigned in
 C o u r t r o o m N o . 6 B S o u t h o n t h e 6 th F l o o r , U n i t e d S t a t e s D i s t r i c t
 Courthouse, 225 Cadman Plaza East, Brooklyn, New York, OR before a
 magistrate judge in a designated courtroom. The parties should be ready
 to TRY THE CASE and to have available witnesses and exhibits on October
 14, 2024. However, the parties are notified that the court's criminal
 calendar may require the court to change the date of this trial to
 October 7, 2024, immediately following jury selection. In accordance
 with Federal Rule of Civil Procedure 48(b), eight (8) jurors will be
 selected, and six (6) jurors may decide the case if two (2) jurors must
 be excused.            The Court will accept a unanimous verdict. The parties
 shall immediately advise the Court of a settlement. If the settlement
 occurs after 2:00 p.m. on October 4, 2024, the parties shall share the
 costs associated with summoning the jurors for selection.

            2.    To MEET and CONFER, prior to June 17, 2024, to make
 every effort to (i) resolve any OBJECTIONS regarding the admissibility
 of   evidence;  (ii)   enter  into  STIPULATIONS  OF  FACT,  including
 stipulations as to the authenticity of all documents intended to be
 offered in evidence at trial and give notice as to all remaining
 objections to authenticity so as to permit the adversary to have
 available at trial all necessary foundation witnesses; (iii) resolve
 any remaining disputes prior to bringing those disputes to the court’s
 attention; and (iv) exchange revised witness and exhibit lists which
 reflect the parties’ best assessments of those witnesses they actually
 intend to call or proffer at trial.

            3.   To SERVE and DELIVER to Chambers two courtesy copies,
 via FedEx or messenger, of all pretrial MOTIONS (e.g. motions in
 limine, but no further motions for summary judgment) based on any
 defense, objection, or request, which is capable of determination
 before the trial of the general issue, on or before June 24, 2024, all
 oppositions to motions by July 8, 2024, and all replies, if any, by
 July 15, 2024, and to FILE all fully briefed motions via ECF, by July
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 15,   2024,  and   not  before.   All  motion   papers  addressing   the
 admissibility of evidence shall attach copies of the disputed evidence
 and cite to the Federal Rules of Evidence and relevant case law.     The
 parties shall not expect or request extensions of this motion schedule.

            4.   To FILE a REVISED JOINT PRETRIAL ORDER by August 15,
 2024,  in  the  form  specified  in  the   court’s pretrial practices,
 including but not limited to: (i) witness and exhibit lists; (ii) all
 stipulations of fact; (iii) any objections to the admissibility of
 evidence still remaining; and (iv) a streamlined and updated view of
 the case after the parties have met and conferred.

            5.  Before the pretrial conference described in Paragraph 6,
 on October 11, 2024, and no later than August 16, 2024, each party
 shall FILE via ECF and PROVIDE two courtesy copies to Chambers of:

               (a)   a stipulated statement of the case                                   briefly       describing
          the nature of the case and issues to be tried;

               (b)   a final LIST OF EXHIBITS and a final LIST OF WITNESSES,
          including, with respect to any expert witness, a description of
          qualifications and a summary of expected testimony;

                (c)  a LIST OF PERSONS, including attorneys; CORPORATIONS;
          ENTITIES;  INSTITUTIONS; PLACES;  and SCIENTIFIC,   TECHNICAL or
          COLLOQUIAL TERMS that will be referred to by counsel or witnesses
          during the trial, for the use of the court in voir dire of
          prospective jurors and to assist the court reporter in recording
          the proceedings;

                   (d)      VOIR DIRE requests;

               (e)   PROPOSED VERDICT FORMS, SPECIAL VERDICT                                           FORMS,       AND
          PROPOSED SPECIAL INTERROGATORIES, if applicable;

                (f)  PROPOSED REQUESTS TO CHARGE, with legal authority cited
          for each request, which the parties intend to ask the court to
          consider  without prejudice to the parties' right       to submit
          additional requests to charge, the need for which was not apparent
          prior to trial, at the conclusion of the taking of evidence;

                     6.     To APPEAR with counsel who is to try the case at a
 PRETRIAL CONFERENCE on Friday, October 11, 2024, at 10:00 a.m. in
 C o u r t r o o m 6 B S o u t h o n t h e 6 th F l o o r , U n i t e d S t a t e s D i s t r i c t C o u r t h o u s e ,
 225 Cadman Plaza East, Brooklyn, New York, or on an earlier date if the
 court’s calendar allows.

                (a) At the pretrial conference, each party shall bring for
          inspection   two  copies   of   all   exhibits,  pre-marked  for
          identification, which the party intends to offer in evidence at
          trial, including:
                                                                 2
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                (i)        each item of physical or documentary evidence;

               (ii)     any  learned  treatises  or  publications       to    be
          introduced pursuant to Federal Rule of Evidence 803(18);

               (iii)    any  disc  upon  which the  exhibits have  been
          recorded in digital form, if the party intends to present the
          evidence at trial digitally; and

               (iv) if TRANSCRIPTS are to be used either as substantive
          evidence  or  aids  to  the  court,  a   single copy  shall  be
          appropriately marked by all parties to indicate (i) portions to
          be read, and (ii) portions objected to.1

            7.   Each party is responsible for arranging, at its             own
 expense, the assistance of a court-certified interpreter for                any
 witness it will present who cannot testify in English.



             SO ORDERED.

 Dated:      June 3, 2024
             Brooklyn, New York


                                      __________ /s/ ______________
                                      Hon. Kiyo A. Matsumoto
                                      United States District Judge
                                      Eastern District of New York




 1 If any party wishes to present marked exhibits to the jury in digital form,
 the parties are directed to meet with the Chief Deputy Clerk for Automation
 Services and my case manager prior to the commencement of the trial to review
 the available equipment in the courtroom where the trial shall take place and
 to determine what equipment the court can provide and what equipment the
 parties must provide.     Counsel should be accompanied by the audio-visual
 personnel who will be operating any equipment that will be used at trial.  By
 no later than October 1, 2024, the parties shall file a confirmation in
 writing via ECF that this meeting has occurred and shall include a general
 outline of the understandings reached.
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